Case 4:19-cv-07966-JST Document 33 Filed 07/02/20 Page 1of1

AO 440 (Rev, 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 4:19-cv-07966-JST

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (0)

This summons for (name of individual and title. ifanv) Merchant Industry, LLC d/b/a Swipe4Free

was received by me on (date) 04/21/2020

1 I personally served the summons on the individual at (place)

ON (date) , or

JF [left the summons at the individual's residence or usual place of abode with fame)

. a person of suitable age and discretion who resides there,

On (date) .and mailed a copy to the individual’s last known address; or

of [served the summons on fname of individual) Andrew "N" (Legal Representative) . who ts
designated by law to accept service of process on behalf of game of organization)

Merchant Industry, LLC d/b/a Swipe4Free On fdate) 04/24/2020 .or

IV [returned the summons unexecuted because > or

FD Other pspecipy:

My fees are $ 100.00 for travel and $ 0.00 for services, for a total of $ 100.00

I declare under penalty of perjury that this information is true

Date: 06/30/2020 A

Server's signature

 

John L. Hudak Lic# 1392295

Printed name and title

1204 Ave., Brooklyn, New York 11229

 

Server's address
Additional information regarding attempted service, ete:

Service Address: 36-36 33rd Street, Suite 306, Long Island City, New York 11106
